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          Exhibit 3
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                      JASON CYRULNIK DISCOVERY PROTOCOL

                                     Email Search Protocol

Email Sources

       jasoncyrulnik@gmail.com
       @c-llp.com
       @cf-llp.com

Email Search Terms

                                     Terms                                            Date Range
           or       or                                                               10/1/19-3/14/21
formula compensation OR (comp* w/10 (firm* or RCF or RF or RCFLLP or                 10/1/19-3/14/21
RFLLP or Roche or Freedman or Holcomb or Normand or Friedland))
partnership agreement                                                                10/1/19-3/14/21
Side letter or "Memorandum of Understanding" or "MOU" or (("firm name" or            10/1/19-3/14/21
agreement) w/10 (roche or freedman or RCF or RF or RCFLLP or RFLLP or Roche
or Freedman))
(Boies or BSF) w/10 (depart* or leav* or quit* or resign*)                           10/1/19-3/14/21
(contingen* or referral) w/10 (vot* or approv* or non-approv* or concern* or         10/1/19-3/14/21
oppos* or object* or disagree*)
(engagement or retention or retainer) w/3 letter or agreement                        10/1/19-3/14/21
(join* or start* or on-board or onboard or "on board" or form*) w/20 (RCF or RF or   10/1/19-3/14/21
RCFLLP or RFLLP or Roche or Freedman or Holcomb or Normand or Friedland)
*@gibsondunn.com                                                                     10/1/19-3/14/21
*@michaelson.biz*                                                                    10/1/19-3/14/21
*@pbwt.com                                                                           10/1/19-3/14/21
account* w/20 (access* or right* or review* w/20 (RCF or RF or RCFLLP or             10/1/19-3/14/21
RFLLP or Roche or Freedman or Holcomb or Normand or Friedland))
equity w/10 (firm* or RCF or RF or RCFLLP or RFLLP or Roche or Freedman or           10/1/19-3/14/21
Holcomb or Normand or Friedland)
Ilana or (miller w/5 (bsf or boies or bsfllp.com))                                   10/1/19-3/14/21
invoic* or pay* or bill* (limited to emails to/from/cc email addresses of Cyrulnik   10/1/19-3/14/21
Clients)
MOU or "memorandum of understanding"                                                 10/1/19-3/14/21
record* w/20 (access* or right* or review* w/20 (RCF or RF or RCFLLP or              10/1/19-3/14/21
RFLLP or Roche or Freedman or Holcomb or Normand or Friedland))
staff* w/20 (associate or attorney or RCF or RF or RCFLLP or RFLLP or Roche or       10/1/19-3/14/21
Freedman or Holcomb or Normand or Friedland)
Token or "            " or            or                                             10/1/19-3/14/21
valu* w/10 (firm* or RCF or RF or RCFLLP or RFLLP or Roche or Freedman or            10/1/19-3/14/21
Holcomb or Normand or Friedland)
yell* or scream* or bully* or abus* or harass* or ((improper or inappropriate) w/5   10/1/19-3/14/21
(comment* or behavior)) or (rais* w/5 voic*)
RCF or RF or RCFLLP or RFLLP or Roche or Freedman or Holcomb or Normand              2/12/21-3/14/21
or Friedland (limited to emails to/from/cc email addresses of Cyrulnik Clients)
All emails with RCF email addresses or the personal email addresses of the           10/1/19-3/14/21
Conspiring Partners
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                     JASON CYRULNIK DISCOVERY PROTOCOL

                              Non-Email ESI Search Protocol

ESI Sources

       Texts
       WhatsApp
       Signal

Search Protocol

All messages reviewed from 10/1/19 through 3/14/21 if exchanged with any of the following:

       Ahuva Genack
       Alan Silber
       Alex Potter
       Amos Friedland
       Bruce Schlanger
       Cathy Michaelson
       Clint Walker
       Constantine Economides
       Dan Stone
       Jim Lintott
       Joe Delich
       Jonah Davids
       Jordana Haviv
       Katherine Eskovitz
       Kyle Roche
       Menachem Ash
       Michael Stein
       Morris Berger
       Nathan Holcomb
       Neil Closner
       Paul Fattaruso
       Richard Cipolla
       Roger Silk
       Stephen Lagos
       Ted Normand
       Vel Freedman
       Yaniv Schiller
       Yehuda Gordon
       Yehuda Shmidman
